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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

x
RODOLFO MONTER HERNANDEZ, individually
and on behalf of others similarly situated,

 

Plaintiff,
. AFFIDAVIT OF
-against- SERVICE
99 THAI PLAYGROUND LLC (D/B/A THAIMEE Case No. 19-cv-1257

TABLE (E/K/A NGAM)), INSPIRED
HOSPITALITY MANAGEMENT LLC (D/B/A
THAIMEE TABLE (E/K/A NGAM)),
NGAMPROM THAIMEE (AKA HONG), MATT
BRUCK, ANDREW PIRGOUSIS, CHAI
THAIMEE, and LUIGI DOE,

Defendants

 

STATE OF NEW YORK _ )
)SS.:
COUNTY OF NEW YORK. )

Jorge E. Rivas Jr., being duly sworn, deposes and says:

Deponent is not a party to this action and is over the age of eighteen years and resides in the State
of New York.

On August 11, 2020, I mailed to Defendants 99 Thai Playground LLC d/b/a Thaimee Table, Inspired
Hospitality Management d/b/a Thaimee Table, Matt Bruck and Ngamprom Thaimee “Order To Show Cause”
and Declaration in Support and Exhibits” by overnight FedEx Mail to the following addresses:

99 Thai Playground LLC
80 Elizabeth Street #8E
New York, New York 10013

Inspired Hospitality Management d/b/a
Thaimee Table

c/o Sung H. Choi

189 Bridge Street 7A

Brooklyn, N.Y. 11201

Matt Bruck

c/o Smart Advocate LLC

6 Harbor Park Drive

Port Washington, New York 11050

Ngamprom Thaimee
55 West 25" Street Apt 5S
New York, New York 10010
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Lo é” JORGE E. RIVAS JR.

Sworn to before me on this

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Notary Public “——~

MICHAEL FAILLACE
NOTARY PUBLIC-STATE OF NEW YORK
No. 02FA6120964
Qualified in New York County
My Commission Expires January 03, 200\
